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                                               United States Bankruptcy Court
                                                     Southern District of Florida
          Roberto Garcia
 In re    Ana Lucia Garcia                                                                      Case No.    22-19496-AJC
                                                                    Debtor(s)                   Chapter     13

                                       DECLARATION REGARDING PAYMENT ADVICES

Debtor:

          Copies of all payment advices, pay stubs or other evidence of payment received by the debtor from any employer within 60
          days prior to the filing of the bankruptcy petition are attached. (Note: If you worked some, but not all of the 60 days prior,
          attach copies of any and all received and provide explanation that you didn't work the full 60 days.
           )

          Copies of all payment advices are not attached because the debtor had no income from any employer during the 60 days
          prior to filing the bankruptcy petition.

          Copies of all payment advices are not attached because the debtor:
                  receives disability payments
                  is unemployed and does not receive unemployment compensation
                  receives Social Security payments
                  receives a pension
                  does not work outside the home
                  is self employed and does not receive payment advices

          None of the statements above apply, however, the debtor is unable to timely provide some or all copies of payment advices or
          other evidence of payment received
          Explain:

Joint Debtor (if applicable):

          Copies of payment advices, pay stubs or other evidence of payment received by the joint debtor from any employer within 60
          days prior to the filing of the bankruptcy petition are attached. (Note: If you worked some, but not all of the 60 days prior,
          attach copies of any and all received and provide explanation that you didn't work the full 60 days.
                    )

          Copies of payment advices are not attached because the joint debtor had no income from any employer during the 60 days
          prior to filing the bankruptcy petition.

          Copies of payment advices are not attached because the joint debtor:
                  receives disability payments
                  is unemployed and does not receive unemployment compensation
                  receives Social Security payments
                  receives a pension
                  does not work outside the home
                  is self employed and does not receive payment advices

          None of the statements above apply, however, the joint debtor is unable to timely provide some or all copies of payment
          advices or other evidence of payment received
          Explain:




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NOTE: When submitting copies of evidence of payment such as pay stubs or payment advices, it is your responsibility to redact
(blackout) any social security numbers, names of minor children, dates of birth or financial account numbers before attaching for
filing with the court. See Local Rule 5005-1(A)(2).

/s/ Roberto Garcia                                                              Date:     February 23, 2023
Roberto Garcia
Signature of Attorney or Debtor

/s/ Ana Lucia Garcia                                                            Date:     February 23, 2023
Ana Lucia Garcia
Signature of Attorney or Joint Debtor




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